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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 18-CR-20743-RAR

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  EMMANUEL JACKSON AND
  TARRESSE LEONARD,

        Defendants.
  _______________________________/

           ORDER ADOPTING REPORT AND RECOMMENDATION AND
       DENYING DEFENDANT TARRESSE LEONARD’S MOTION TO SUPPRESS

         THIS MATTER was referred by United States District Judge Robert M. Scola to United

  States Magistrate Judge Edwin G. Torres [ECF No. 46] on March 7, 2019 for a Report and

  Recommendation on Defendant Tarresse Leonard’s (“Leonard”) Motion to Suppress Physical

  Evidence and Statements [ECF No. 59] filed on March 3, 2019 (“Motion to Suppress”).

         After conducting an evidentiary hearing on April 23, 2019 regarding Leonard’s Motion to

  Suppress, Magistrate Judge Torres filed a Report and Recommendation [ECF No. 62] on May 8,

  2019 (“Report”). In his Report, Magistrate Judge Torres recommends that the Motion to Suppress

  be denied.    On May 21, 2019, Leonard filed Objections to the Report [ECF No. 68]

  (“Objections”). Specifically, Leonard seeks to suppress a firearm, ammunition, cocaine, and

  cocaine base found pursuant to a search warrant obtained by law enforcement on May 18, 2018.

  The Government filed a Response to Leonard’s Objections [ECF No. 73] on June 1, 2019

  (“Response”) and Leonard filed a Reply thereto on June 4, 2019 [ECF No. 76]. This matter is

  now ripe for resolution.
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                                      STANDARD OF REVIEW

          If a party files “a proper, specific objection” to a factual determination contained in a report

  and recommendation, the district court must conduct a de novo review of the findings. See, e.g.,

  Macort v. Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006); Jeffrey S. by Ernest S. v. State Bd.

  of Educ., 896 F.2d 507, 513 (11th Cir. 1990). Legal conclusions are subject to de novo review

  even if no party specifically objects. U.S. v. Keel, 164 F. App’x 958, 961 (11th Cir. 2006); U.S.

  v. Warren, 687 F.2d 347, 347 (11th Cir. 1982). Mindful of the standard of review, the Court has

  carefully considered the entire file 1 and record, and specifically conducted a de novo review of the

  issues raised by Leonard’s Objections.

                                               ANALYSIS

          Leonard sets forth three overall objections: (i) the Report “fails to recognize certain salient

  facts”; (ii) the Report fails to analyze the Franks claim raised by Leonard; and (iii) the Report fails

  to address whether Leonard’s post-arrest statements should be suppressed as “‘fruit of the

  poisonous tree[,]’ resulting from an illegal arrest warrant.” Objections at 2-9. The Court, having

  carefully conducted an independent review of the exhibits and testimony introduced during the

  evidentiary hearing before Magistrate Judge Torres on April 23, 2019, as well as the transcript of

  said hearing [ECF No. 58], finds Leonard’s objections unsupported by the record. The Court shall

  address each objection in turn.

          i. Record evidence rebuts Leonard’s various assertions.

          With respect to the factual findings in the Report, Leonard raises 18 objections and

  maintains that the Report “misapprehends” certain allegations. Objections at 3-5. As an initial




  1 Including all exhibits introduced by the Government during the suppression hearing, apart from the guns
  and drugs found in the residence, which have been provided to the Court for in camera review.

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  matter, Leonard notes numerous factual inaccuracies in the Report. However, the discrepancies

  noted by Leonard in his Objections are clerical in nature, and do not affect the substance of the

  recommendations made by Magistrate Judge Torres. For example, the Report incorrectly refers

  to Leonard’s children and incorrectly states Leonard was charged with brandishing a firearm. See,

  e.g., Objections at 3; Response at 10.        Although this information is inaccurate, neither

  misrepresentation impacts the resolution of the Motion to Suppress.

         More importantly, the remaining “factual” objections raised by Leonard are conclusively

  rebutted by the record. See Response at 10-12. For example, Leonard argues the police reports

  and post-arrest statement from his co-defendant, Emmanuel Jackson (“Jackson”), prove that

  Jackson, not Leonard, claimed ownership of the drugs. See Objections at 3; Response at 10.

  However, neither item was presented as evidence at the suppression hearing. Id. Leonard also

  contends the search warrant’s supporting affidavit showed no connection between Leonard and

  the residence, but the affidavit did establish a connection between Jackson and the residence in

  support of probable cause. See Objections at 4; Response at 11. Therefore, Leonard’s argument

  that the Report is somehow based on “unsubstantiated or inaccurate” facts is without merit.

         ii. Leonard is not entitled to a Franks evidentiary hearing.

         “[T]o prevail in a Franks challenge, a defendant must establish (1) that information

  contained in an affidavit was untrue, (2) that inclusion of the untrue information was either

  deliberate or in ‘reckless disregard for the truth,’ and (3) that the untrue information was an

  essential element of the probable cause showing relied upon by the judicial officer in issuing the

  search warrant.” O’Ferrell v. United States, 253 F.2d 1257, 1267 (11th Cir. 2001) (citation

  omitted); see also Franks, 438 U.S. at 171-72 (noting that to mandate a Franks evidentiary hearing,




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  defendant must set forth “allegations of deliberate falsehood or of reckless disregard for the truth,

  and those allegations must be accompanied by an offer of proof”).

         In support of his Franks claim, Leonard contends that had the judicial officer who issued

  the search warrant known Jackson confessed ownership of the drugs found in the couch, she would

  not have approved the warrant. However, Leonard’s argument suffers from a fatal flaw: Jackson

  did not claim the drugs were his until after the search warrant was submitted to the state circuit

  court for review. During the suppression hearing, Detective Paul-Noel specifically testified about

  the timing of the search warrant. See [ECF No. 58] at 79-78. Throughout his testimony,

  Detective Paul-Noel never confirmed that the search warrant was submitted for approval prior to

  Jackson’s interview as argued by Leonard. In fact, video evidence confirms that Jackson did not

  make his confession until approximately 8:09 PM, and the search warrant was submitted for review

  at 7:41 PM. See Response at 14.

         Leonard’s contention that Jackson spontaneously stated that “[a]ll the drugs are mine”

  immediately upon arrest is also unsupported by the record. Detective Paul-Noel’s testimony at

  the suppression hearing further contradicts Leonard’s argument because he never confronted

  Jackson with such a statement during his post-arrest interview. Rather, Detective Paul-Noel

  asked Jackson if he wanted to exonerate E.C., a female who rents the residence and lives there

  with her minor children. And immediately thereafter, Jackson confessed that the drugs were his

  and said he didn’t want anyone else to get in trouble for his crimes. See Response at 13; see also

  [ECF No. 68-2].

         Consequently, Leonard has not established that Detective Noel-Paul (the affiant in this

  case) provided information that he knew or should have known was false. Therefore, Leonard’s

  Franks claim warrants denial and he is not entitled to an evidentiary hearing.


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         Nonetheless, even if Jackson’s admission had been included in the affidavit, probable cause

  would still have existed to search the residence. In his affidavit, Detective Paul-Noel stated that

  he observed Jackson pointing a gun at a crowd of people before going back into the residence

  where law enforcement ultimately apprehended him. During a pat down search, drugs were found

  on Jackson’s person and in plain view. Therefore, the facts in the affidavit—even if Jackson’s

  confession had been included—would be more than enough to establish probable cause. Franks,

  438 U.S. at 171-72 (“[I]f, when material that is the subject of the alleged falsity or reckless

  disregard is set to one side, there remains sufficient content in the warrant affidavit to support a

  finding of probable cause, no hearing is required.”); United States v. Novaton, 271 F.3d 968, 987

  (11th Cir. 2001) (noting insignificant or immaterial misrepresentations or omissions will not

  invalidate a search warrant, and no Franks hearing is required if there remains sufficient content

  to support a finding of probable cause).

         iii. Leonard’s statements are not fruit of the poisonous tree.

         Lastly, Leonard objects to the Report’s failure to “address the suppression of [his] post-

  arrest statements as ‘fruit of the poisonous tree’ resulting from an illegal search warrant.”

  Objections at 9. Leonard asserts that “because the officers made an illegal entry into the residence

  then illegally obtained a search warrant for the rest of the house,” his video-recorded post-arrest

  statements must be suppressed. Id. However, as explained above, the search warrant in this case

  was fully supported by probable cause and therefore, valid.

                                             CONCLUSION

         Based upon the foregoing, it is hereby ORDERED AND ADJUDGED that United States

  Magistrate Judge Edwin G. Torres’s Report and Recommendation on Defendant Tarresse

  Leonard’s Motion to Suppress Physical Evidence and Statements [ECF No. 59] is hereby


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  AFFIRMED AND ADOPTED. Accordingly, Defendant Leonard’s Motion to Suppress [ECF

  No. 59] is DENIED.



        DONE AND ORDERED in Fort Lauderdale, Florida, this 10th day of June, 2019.




                                                 _________________________________
                                                 RODOLFO RUIZ
                                                 UNITED STATES DISTRICT JUDGE
  cc:   counsel of record




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